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                                                                                         E-FILED
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                                                                    Clerk, U.S. District Court, ILCD


                   UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF ILLINOIS
                         PEORIA DIVISION


HENRY WALKER,                                )
   Plaintiff,                                )
                                             )
      v.                                     )     Case No. 1:19-cv-01086-CSB
                                             )
JOSHUA P. DAVIS, et al.,                     )
    Defendants.                              )

                           MERIT REVIEW ORDER

COLIN STIRLING BRUCE, United States District Judge:

      Plaintiff pro se, Henry Walker, who is currently incarcerated at

Pontiac Correctional Center, filed suit under 42 U.S.C. § 1983. Plaintiff’s

complaint [1] is before the Court for merit review under 28 U.S.C. § 1915A,

which requires the Court to “screen” the complaint, and through such

process, identify and dismiss any legally insufficient claim, or the entire

action if warranted. A claim is legally insufficient if it “(1) is frivolous,

malicious, or fails to state a claim upon which relief may be granted; or (2)

seeks monetary relief from a defendant who is immune from such relief.”

28 U.S.C. § 1915A. In reviewing the complaint, the Court accepts the factual
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allegations as true, liberally construing them in the plaintiff’s favor. Turley

v. Rednour, 729 F.3d 645, 649 (7th Cir. 2013). However, conclusory

statements and labels are insufficient. Enough facts must be provided to

“state a claim for relief that is plausible on its face.” Alexander v. United

States, 721 F.3d 418, 422 (7th Cir. 2013) (citation omitted).

      Plaintiff alleges, in pertinent part, that on June 11, 2018, Defendant

correctional officers Bryan, Joshua P. Davis, and Jordan Pratt were

escorting Plaintiff, who was handcuffed and shackled, from the west to the

north cell house, where Plaintiff’s cell was located. During that time, Davis

indicated that he was upset because Plaintiff had recently filed a grievance

against him. After Plaintiff reached his cell, he knelt as instructed, and

Davis removed the shackles. Plaintiff, still handcuffed, started to get up,

but Davis kicked him in his back, which caused Plaintiff’s chin to hit the

concrete floor. When Plaintiff rolled over onto his back, he saw Davis and

Byran kicking him and Pratt standing off to the side, pointing a can of mace

at Plaintiff. Davis eventually lifted Plaintiff to his feet and removed the

handcuffs. Davis, Byran, and Pratt then left. Plaintiff immediately


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demanded medical care for the cut to his chin. Moments later, Defendant

Susan Prentice, a correctional major, arrived at Plaintiff’s cell, asked to see

his face, and left. A few minutes later, Plaintiff was taken to the health care

unit, where he received five stitches to close the cut to his chin.

      Under the Eighth Amendment, prison officials may not use excessive

physical force against prisoners. Hudson v. McMillian, 503 U.S. 1, 7 (1992).

The use of force qualifies as excessive under the Eighth Amendment “when

it entails the ‘unnecessary and wanton infliction of pain.’” Rice ex rel. Rice v.

Corr. Med. Servs., 675 F.3d 650, 667 (7th Cir. 2012) (quoting Whitley v. Albers,

475 U.S. 312, 319 (1986)). In an excessive force claim, “the core judicial

inquiry is . . . whether force was applied in a good-faith effort to maintain

or restore discipline, or maliciously and sadistically to cause harm.”

Hudson, 503 U.S. at 7. “Several factors are relevant in determining whether

a defendant applied force in good faith or for purposes of causing harm,

including the need for force, the amount of force used, the threat

reasonably perceived by the officer, efforts made to temper the severity of




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the force, and the extent of the injury caused by the force.” Lewis v. Downey,

581 F.3d 467, 477 (7th Cir. 2009).

      The Court concludes that Plaintiff has alleged enough facts to state an

excessive force claim against Defendants Davis and Byran. Plaintiff also

states a failure to intervene claim against Defendant Pratt for not

preventing the allegedly unconstitutional conduct. See Gill v. City of

Milwaukee, 850 F.3d 335, 342 (7th Cir. 2017) (holding that a failure to

intervene claim succeeds when a plaintiff demonstrates that the defendant

“knew that a constitutional violation was committed” and “had a realistic

opportunity to prevent it”).

      The Court also concludes that Plaintiff has alleged enough facts to

state a retaliation claim against Defendant Davis. To prevail on a First

Amendment retaliation claim, a plaintiff must establish that (1) he

“engaged in activity protected by the First Amendment,” (2) he “suffered a

deprivation that would likely deter First Amendment activity in the

future,” and (3) “the First Amendment activity was ‘at least a motivating

factor’ in the [defendant’s] decision to take the retaliatory action.” Woodruff


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v. Mason, 542 F.3d 545, 551 (7th Cir. 2008) (quoting Massey v. Johnson, 457

F.3d 711, 716 (7th Cir. 2006)). “An act taken in retaliation for the exercise of

a constitutionally protected right is actionable under § 1983 even if the act,

when taken for a different reason, would have been proper.” Reichle v.

Howards, 566 U.S. 658, 666 (2012). Here, a factfinder could infer that Davis’

actions on July 11, 2018, was at least motivated by the grievance that

Plaintiff filed against him.

      However, Plaintiff’s claim against Defendant Prentice is based solely

on her position. Specifically, that Prentice is the “supervisory officer, and

she is the one who authorized [Defendants] to … take [Plaintiff] from west

housing to north housing….” (ECF 1: p. 18:69.) However, “[t]he doctrine of

respondeat superior cannot be used to impose § 1983 liability on a

supervisor for the conduct of a subordinate violating a plaintiff’s

constitutional rights.” Gossmeyer v. McDonald, 128 F.3d 481, 495 (7th Cir.

1997). To establish supervisory liability under 42 U.S.C. § 1983, the

supervisor must be personally responsible as well. Matthews v. City of East

St. Louis, 675 F.3d 703, 708 (7th Cir. 2012). “To show personal involvement,


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the supervisor must know about the conduct and facilitate it, approve it,

condone it, or turn a blind eye for fear of what they might see.” Id. (internal

quotation marks omitted); see also Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009)

(“Because vicarious liability is inapplicable to…§ 1983 suits, a plaintiff

must plead that each Government-official defendant, through the official’s

… actions, has violated the Constitution.”). Accordingly, the Court

concludes that Plaintiff does not state a constitutional claim against

Prentice.

      The Court notes that in his complaint, Plaintiff also alleges that on

three consecutive days in May 2018, Defendant Prentice sexually harassed

him. However, the Court concludes that this allegation belongs in a

different lawsuit. Plaintiff’s sexual harassment claim is unrelated to the

claims he raises against Defendants Bryan, Davis, and Pratt. See George v.

Smith, 507 F.3d 605, 607 (7th Cir. 2007) (holding that unrelated claims

against different defendants belong in different suits, not only to prevent

morass but also to ensure that prisoners pay the required filing fees). If

Plaintiff intends to pursue his sexual harassment claim, he must file


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separate lawsuits and pay the required filing fees.

IT IS THEREFORE ORDERED:

     1) Pursuant to 28 U.S.C. § 1915A, the Court finds that Plaintiff has
        alleged enough facts to proceed with his Eighth Amendment
        claim for (1) excessive force against Defendants Davis and
        Bryan; (2) failure to intervene against Defendant Pratt; and (3) a
        retaliation claim against Davis for the alleged events that
        occurred on June 11, 2018. Plaintiff’s claims against Davis,
        Bryan, and Pratt are in their individual capacity only. Any
        additional claims shall not be included in the case, except at the
        Court’s discretion on motion by a party for good cause shown or
        pursuant to Federal Rule of Civil Procedure 15.

     2) The Court directs the Clerk of the Court (“Clerk”) to terminate
        Defendant Prentice as a party in this case.

     3) The Court DENIES as moot Plaintiff’s motion for status [5].

     4) This case is now in the process of service. Plaintiff is advised to
        wait until counsel has appeared for Defendants before filing
        any motions, in order to give Defendants notice and an
        opportunity to respond to those motions. Motions filed before
        Defendants’ counsel has filed an appearance will generally be
        denied as premature. Plaintiff need not submit any evidence to
        the Court at this time unless otherwise directed by the Court.

     5) The Court will attempt service on Defendants by mailing each
        Defendant a waiver of service. Defendants have sixty days from
        service to file an Answer. If Defendants have not filed Answers
        or appeared through counsel within ninety days of the entry of
        this order, Plaintiff may file a motion requesting the status of
        service. After Defendants have been served, the Court will enter
        an order setting discovery and dispositive motion deadlines.

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6) Concerning a Defendant who no longer works at the address
   Plaintiff had provided, the entity for whom that Defendant
   worked while at that address shall submit to the Clerk said
   Defendant’s current work address, or, if not known, said
   Defendant’s forwarding address. This information shall be used
   only for effectuating service. Documentation of forwarding
   addresses shall be retained only by the Clerk and shall not be
   maintained in the public docket nor disclosed by the Clerk.

7) Defendants shall file an Answer within sixty days of the date
   the Clerk sends the waiver of service. A motion to dismiss is not
   an Answer. The Answer should include all defenses appropriate
   under the Federal Rules. The Answer and subsequent pleadings
   shall be to the issues and claims stated in this Order. In general,
   an Answer sets forth Defendants’ positions. The Court does not
   rule on the merits of those positions unless and until
   Defendants file a motion. Therefore, no response to the Answer
   is necessary or will be considered.

8) This District uses electronic filing, which means that, after
   Defendants’ counsel has filed an appearance, Defendants’
   counsel will automatically receive electronic notice of any
   motion or other paper filed by Plaintiff with the Clerk. Plaintiff
   does not need to mail to Defendants’ counsel copies of motions
   and other papers that Plaintiff has filed with the Clerk.
   However, this does not apply to discovery requests and
   responses. Discovery requests and responses are not filed with
   the Clerk. Plaintiff must mail his discovery requests and
   responses directly to Defendants’ counsel. Discovery requests or
   responses sent to the Clerk will be returned unfiled unless they
   are attached to and the subject of a motion to compel. Discovery
   does not begin until Defendants’ counsel has filed an
   appearance and the Court has entered a scheduling order, which
   will explain the discovery process in more detail.

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     9) Defendants’ counsel is granted leave to depose Plaintiff at his
        place of confinement. Defendants’ counsel shall arrange the
        time for the deposition.

     10) Plaintiff shall immediately inform the Court, in writing, of any
         change in his mailing address and telephone number.
         Plaintiff’s failure to notify the Court of a change in mailing
         address or phone number will result in dismissal of this
         lawsuit, with prejudice.

     11) If a Defendant fails to sign and return a waiver of service to the
         Clerk within thirty days after the waiver is sent, the Court will
         take appropriate steps to effect formal service through the U.S.
         Marshals service on that Defendant and will require that
         Defendant to pay the full costs of formal service pursuant to
         Federal Rule of Civil Procedure 4(d)(2).

     12) The Clerk is directed to enter the standard qualified protective
         order under the Health Insurance Portability and
         Accountability Act.

     13) The Clerk is directed to attempt service on Defendants under
         the standard procedures.

ENTERED July 30, 2019.




                        s/ Colin Stirling Bruce
                  ________________________________
                      COLIN STIRLING BRUCE
                  UNITED STATES DISTRICT JUDGE


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